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            NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                   ______________________

    CISCO SYSTEMS, INC., HEWLETT PACKARD
               ENTERPRISE CO.,
                   Appellants

                             v.

                      K.MIZRA LLC,
                          Appellee
                   ______________________

                    2022-2290, 2023-1183
                   ______________________

     Appeals from the United States Patent and Trademark
 Office, Patent Trial and Appeal Board in Nos. IPR2021-
 00593, IPR2022-00081, IPR2022-00084.
                  ______________________

        ON PETITION FOR PANEL REHEARING
                ______________________

        Before DYK, REYNA, and STOLL, Circuit Judges.
 PER CURIAM. 1
                         ORDER
    K.Mizra LLC filed a petition for panel rehearing.


    1    Circuit Judge Newman did not participate.
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 2                         CISCO SYSTEMS, INC. v. K.MIZRA LLC




     Upon consideration thereof,
     IT IS ORDERED THAT:
     The petition for panel rehearing is denied.
     The mandate of the court will issue October 9, 2024.




                                             FOR THE COURT




 October 2, 2024
      Date
